    Case 1-20-44192-nhl Doc 94 Filed 04/03/24 Entered 04/03/24 09:59:39
Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 1 of 33 PageID #: 11



                       IndBusDB, MEANSNO, Repeat, PRVDISM, PRVDISCH, REOPEN, APPEAL




                                   U.S. Bankruptcy Court
                          Eastern District of New York (Brooklyn)
                          Bankruptcy Petition #: 1−20−44192−nhl
                                                                             Date filed: 12/07/2020
Assigned to: Nancy Hershey Lord                                         Date reopened: 05/27/2022
Chapter 7                                                           Debtor discharged: 05/18/2021
Voluntary                                                      Joint debtor discharged: 05/18/2021
No asset                                                                   341 meeting: 01/19/2021
                                                   Deadline for objecting to discharge: 05/12/2021
                                                   Deadline for financial mgmt. course: 03/12/2021
Debtor disposition: Standard Discharge
Joint debtor disposition: Standard Discharge

Debtor                                         represented by Robert J Musso
Syed Rashid                                                   26 Court Street
247 Koch Blvd                                                 Suite 2211
Staten Island, NY 10312−5416                                  Brooklyn, NY 11242
RICHMOND−NY                                                   (718) 855−6840
SSN / ITIN: xxx−xx−0986                                       Fax : (718) 625−1966
                                                              Email: Rmusso@nybankruptcy.net

                                                              Bruce Weiner
                                                              Rosenberg Musso & Weiner LLP
                                                              26 Court Street
                                                              Suite 2211
                                                              Brooklyn, NY 11242
                                                              (718) 855−6840
                                                              Fax : 718−625−1966
                                                              Email: courts@nybankruptcy.net

Joint Debtor                                   represented by Robert J Musso
Zareena Rashid                                                (See above for address)
247 Koch Blvd
Staten Island, NY 10312−5416                                  Bruce Weiner
RICHMOND−NY                                                   (See above for address)
SSN / ITIN: xxx−xx−2311

Trustee                                        represented by Holly R. Holecek
Lori Lapin Jones                                              LaMonica Herbst & Maniscalco LLP
Lori Lapin Jones PLLC                                         3305 Jerusalem Avenue
98 Cutter Mill Road                                           Wantagh, NY 11793
Suite 255 South                                               (516) 826−6500
Great Neck, NY 11021                                          Fax : (516) 826−0222
(516) 466−4110                                                Email: hrh@lhmlawfirm.com

U.S. Trustee
Office of the United States Trustee
Eastern District of NY (Brooklyn)
Alexander Hamilton Custom House
One Bowling Green, Room 510
New York, NY 10004−1408
(212) 206−2580



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    Case 1-20-44192-nhl Doc 94 Filed 04/03/24 Entered 04/03/24 09:59:39
Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 2 of 33 PageID #: 12



  Filing Date    #                                      Docket Text

                     90   Order Granting Balance of Debtor's Motion Seeking Sanctions against
                          Howard File, Esq. and Barry Crupi for Violations of the Discharge
                          Injunction. (RE: related document(s)30 Motion to Reopen Chapter 7 Case
                          filed by Debtor Syed Rashid, Joint Debtor Zareena Rashid, Motion for
                          Sanctions for Violation of the Discharge Injunction, Motion to Compel).
 03/28/2024               Signed on 3/28/2024. (jag) (Entered: 03/28/2024)

                     91   Civil Cover Sheet Filed by Howard M File on behalf of Howard File, Esq.
                          (Attachments: # 1 Notice of Appeal and Statement of Election)(File,
 04/02/2024               Howard) (Entered: 04/02/2024)

                     92   Notice of Appeal to District Court. . Fee Amount $298 Filed by Howard
                          M File on behalf of Howard File, Esq. Appellant Designation due by
                          04/16/2024. Transmission of Designation to District Court Due by
 04/02/2024               05/2/2024. (File, Howard) (Entered: 04/02/2024)

                     93   Notice to Parties of Requirements, Deadlines (RE: related document(s)92
                          Notice of Appeal filed by Interested Party Howard File, Esq) (jag)
 04/03/2024               (Entered: 04/03/2024)




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     Case 1-20-44192-nhl Doc 94
                             90 Filed 04/03/24
                                      03/28/24 Entered 04/03/24
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 Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 3 of 33 PageID #: 13




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
In re:                                                               Chapter 7


Syed Rashid and Zareena Rashid,                                      Case No. 1-20-44192-NHL


                                   Debtor.
-----------------------------------------------------------------x

      ORDER GRANTING BALANCE OF DEBTORS’ MOTION SEEKING SANCTIONS
      AGAINST HOWARD FILE, ESQ. AND BARRY CRUPI FOR VIOLATIONS OF THE
                          DISCHARGE INJUNCTION

         WHEREAS, on December 7, 2020, Syed and Zareena Rashid (the “Debtors”) filed a

voluntary petition under chapter 7 of the Bankruptcy Code; and

         WHEREAS, on May 18, 2021, an order was entered discharging both Debtors, and the

case was subsequently closed; and

         WHEREAS, on April 13, 2022, the Debtors filed a motion [ECF No. 30] (the “Sanctions

Motion”) to reopen their Chapter 7 case so they may seek sanctions against Howard File, Esq.

(“File”) and his client Barry Crupi (“Crupi,” and together with File, the “Respondents”) for

violations of the discharge injunction, and for an order compelling File and Crupi to discontinue

an action filed in NYS Supreme Court, Richmond County (Docket No. 150826/2019) (the “State

Court Action”); and

         WHEREAS, the Respondents, through counsel David J. Doyaga, Esq., filed a partial

opposition to the Sanctions Motion on May 12, 2022 [ECF No. 32], conceding to the reopening of

the case, but opposing the imposition of sanctions; and



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    Case 1-20-44192-nhl Doc 94
                            90 Filed 04/03/24
                                     03/28/24 Entered 04/03/24
                                                      03/28/24 09:59:39
                                                               16:02:43
Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 4 of 33 PageID #: 14




       WHEREAS, the Debtors filed a response to the Respondents’ opposition on May 17, 2022

[ECF No. 34]; and

       WHEREAS, a hearing was held before the Court on May 19, 2022 (the “May 19 Hearing”),

at which Robert Nadel, Esq. appeared as counsel to the Debtors, and David J. Doyaga, Sr., Esq.

appeared as counsel to the Respondents; and

       WHEREAS, at the May 19 Hearing, the Sanctions Motion was granted in part, and the

Court set a briefing schedule on the issue of sanctions and damages; and

       WHEREAS, the Court entered an order reflecting the relief granted at the May 19 Hearing

on May 27, 2022 [ECF No. 36], which (1) reopened the case; (2) found that the Respondents

violated the discharge injunction; (3) directed the Respondents to discontinue and withdraw the

State Court Action as to the Debtors; (4) directed Debtors’ counsel to submit time records

evidencing actual damages, and to submit proof of ancillary damages suffered; and (5) set a

briefing schedule on the balance of the Debtors’ motion with regard to the issue of sanctions; and

       WHEREAS, on June 22, 2022, Debtors filed a memorandum of law [ECF No. 43] in

support of the Sanctions Motion which included a calculation of Debtors’ counsel’s fees and costs

incurred in prosecuting the Sanctions Motion, totaling $48,480.00; and

       WHEREAS, the parties filed their respective papers [ECF Nos. 47, 49, 55, 56, 61, 63], and

hearings were held and adjourned from time to time; and

       WHEREAS, on January 19, 2023, the Court established a further briefing schedule

regarding the application of the Supreme Court’s ruling in Taggart v. Lorenzen, 139 S. Ct. 1795

(2019) to the issues implicated by the Sanctions Motion; and

       WHEREAS, the parties filed their respective briefs [ECF Nos. 70-72]; and




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    Case 1-20-44192-nhl Doc 94
                            90 Filed 04/03/24
                                     03/28/24 Entered 04/03/24
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                                                               16:02:43
Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 5 of 33 PageID #: 15




       WHEREAS, a hearing was held before the Court on September 27, 2023 (the “Hearing”),

at which Robert Nadel, Esq. appeared as counsel to the Debtors, David J. Doyaga, Sr., Esq.

appeared as counsel to the Respondents, and Howard File, Esq. appeared individually; and

       WHEREAS, at the Hearing, the Court read a decision into the record, the transcript of

which is incorporated herein by reference; and

       WHEREAS, consistent with the decision read into the record of the Hearing, on October

15, 2023, counsel for the Debtors filed an affirmation in support of granting further legal fees

which were incurred prosecuting the Sanctions Motion since June 22, 2022 [ECF No. 76] (the

“Additional Fees Request”); and

       WHEREAS, by the Additional Fees Request, Debtors’ counsel seeks the imposition of an

additional $14,322.35 in legal fees, and $667.35 in costs, based upon 22.7 hours expended and

expenses incurred in connection with the Sanctions Motion between June 22, 2022, and October

12, 2023; and

       WHEREAS, on October 26, 2023, David J. Doyaga, Esq. filed a motion by order to show

cause seeking (1) to be relieved as counsel to the Respondents, and (2) to extend the time periods

for new counsel for the Respondents to (i) object to additional legal fees, (ii) stay the judgment

pending appeal, and (iii) file a notice of appeal [ECF No. 80] (the “Motion to Withdraw”); and

       WHEREAS, a hearing was held before the Court on the Motion to Withdraw on November

2, 2023, at which Robert Nadel, Esq. and Robert Musso, Esq. appeared as counsel to the Debtors,

David J. Doyaga, Sr., Esq. appeared, and Howard File, Esq. appeared individually; and

       WHEREAS, on November 14, 2023, the Court entered an order [ECF No. 85] relieving

David J. Doyaga, Esq. as counsel of record for the Respondents, and extending the time for the




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    Case 1-20-44192-nhl Doc 94
                            90 Filed 04/03/24
                                     03/28/24 Entered 04/03/24
                                                      03/28/24 09:59:39
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 6 of 33 PageID #: 16




Respondents or their new counsel to file an objection to the Additional Fees Request from October

30, 2023, until December 18, 2023; and

       WHEREAS, on December 18, 2023, File filed an affidavit in partial opposition to the

Additional Fees Request [ECF No. 86] (the “Additional Fees Objection”); and

       WHEREAS, no response to the Additional Fees Request was filed by or on behalf of Crupi;

and

       WHEREAS, by the Additional Fees Objection, File opposes the imposition of legal fees

for 6.5 hours of work, totaling $3,900, which was performed by Debtors’ counsel on February 5,

2023, February 7, 2023, and February 8, 2023, arguing, inter alia, that, the state court action

against the Debtors had previously been discontinued per this Court’s May 27, 2022 order, and

that the Debtors were merely subpoenaed to appear for trial on February 8, 2023 against their co-

defendant as material witnesses and, as such, those fees were not incurred as a result of the

violation of the discharge order; and

       WHEREAS, on December 28, 2023, Debtors’ counsel filed an affirmation [ECF No. 88]

in response to the Additional Fees Objection and asserting (1) that it was necessary for Debtors’

counsel to speak to the Debtors on February 5, 2023 and February 7, 2023 because the Debtors

were nervous about the upcoming hearing, and (2) that it was necessary to attend the state court

hearing on February 8, 2023 because, based upon File’s previous conduct in violation of the

discharge injunction, the Debtors were concerned that File may attempt to call the Debtors to

testify as an opportunity to confuse them into compromising their rights;

       NOW, IT IS HEREBY FOUND AND DETERMINED THAT the fees incurred for legal

services rendered on February 5, 2023, February 7, 2023, and February 8, 2023, in connection with

representing the Debtors in state court should not be awarded as sanctions against the Respondents.



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     Case 1-20-44192-nhl Doc 94
                             90 Filed 04/03/24
                                      03/28/24 Entered 04/03/24
                                                       03/28/24 09:59:39
                                                                16:02:43
 Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 7 of 33 PageID #: 17




The Court rejects the Debtors’ argument that File’s prior violations of the discharge injunction

necessitated having an attorney present for the Debtors in the State Court Action on February 8,

2023. On the record of the Hearing, which was held September 27, 2023, the Court specified the

12 discharge violations committed by the Respondents, the last of which was a letter sent by File

to Judge Didomenico on May 27, 2022, wherein File asserted that the Debtors violated a directive

of the state court with respect to seeking sanctions against the Respondents. There is nothing in

the record of this case to establish, or even suggest, that the Respondents would, or did, violate the

discharge injunction after May 27, 2022. The State Court Action was discontinued against the

Debtors in accordance with this Court’s order. The Debtors were not on trial February 8, 2023,

and were only present in their capacity as witnesses for the trial against their former co-defendant.

This Court cannot conclude that legal fees for representation of the Debtors in that regard are

compensable as a result of the discharge violations at issue. Accordingly, those fees should not be

awarded as sanctions against the Respondents.

        NOW, THEREFORE, for the reasons stated on the record of hearing on September 27,

2023, and based upon the Additional Fees Request and all responses thereto, all of which are

incorporated herein by reference, and for the reasons stated herein, it is hereby

        ORDERED, that the relief sought in the Sanctions Motion and Additional Fees Request is

granted as set forth herein; and it is further

        ORDERED, that the Respondents’ objection to the Sanctions Motion is overruled; and it

is further

        ORDERED, that the Respondents are in contempt of the discharge order entered May 18,

2021; and it is further

        ORDERED, that the Additional Fees Objection by File is sustained; and it is further



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    Case 1-20-44192-nhl Doc 94
                            90 Filed 04/03/24
                                     03/28/24 Entered 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 8 of 33 PageID #: 18




          ORDERED, that the Debtors are awarded, and the Respondents are directed to pay jointly

and severally, legal fees in the amount of $58,902.35 and costs in the amount of $667.35; and it is

further

          ORDERED, that the Debtors are awarded, and the Respondents are directed to pay jointly

and severally, emotional distress damages in the sum of $5,000.00; and it is further

          ORDERED, that the Debtors are awarded, and the Respondents are directed to pay jointly

and severally, punitive damages in the sum of $6,000.00; and it is further

          ORDERED that this Court shall retain jurisdiction to hear and determine all matters arising

from the implementation of this Order; and it is further

          ORDERED, that the Debtors’ counsel shall serve a copy of this Order by first class mail,

or email where available, upon Howard File, Esq., Barry Crupi, and the United States Trustee

within two (2) business days of entry of this order and to file proof of service thereof.




 Dated: March 28, 2024                                            ____________________________
        Brooklyn, New York                                              Nancy Hershey Lord
                                                                   United States Bankruptcy Judge

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    Case 1-20-44192-nhl Doc 94
                            91 Filed 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 9 of 33 PageID #: 19




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    Case 1-20-44192-nhl Doc 94
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 10 of 33 PageID #: 20




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    Case1-20-44192-nhl
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 11 of 33 PageID #: 21




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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 12 of 33 PageID #: 22




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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 13 of 33 PageID #: 23




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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 14 of 33 PageID #: 24




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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 15 of 33 PageID #: 25




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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 16 of 33 PageID #: 26




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    Case1-20-44192-nhl
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 17 of 33 PageID #: 27




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    Case1-20-44192-nhl
          1-20-44192-nhl Doc
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 18 of 33 PageID #: 28




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   Case
    Case1-20-44192-nhl
          1-20-44192-nhl Doc
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 19 of 33 PageID #: 29




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    Case 1-20-44192-nhl Doc 94
                            92 Filed 04/03/24
                                     04/02/24 Entered 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 20 of 33 PageID #: 30




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    Case 1-20-44192-nhl Doc 94
                            92 Filed 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 21 of 33 PageID #: 31




                                                                                21
    Case 1-20-44192-nhl Doc 94
                            92 Filed 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 22 of 33 PageID #: 32




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    Case 1-20-44192-nhl Doc 94
                            92 Filed 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 23 of 33 PageID #: 33




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    Case 1-20-44192-nhl Doc 94
                            92 Filed 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 24 of 33 PageID #: 34




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    Case 1-20-44192-nhl Doc 94
                            92 Filed 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 25 of 33 PageID #: 35




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    Case 1-20-44192-nhl Doc 94
                            92 Filed 04/03/24
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 26 of 33 PageID #: 36




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    Case 1-20-44192-nhl Doc 94
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 27 of 33 PageID #: 37




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    Case 1-20-44192-nhl Doc 94
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Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 28 of 33 PageID #: 38




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          Case
           Case1-20-44192-nhl
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       Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 29 of 33 PageID #: 39

                                                  Notice Recipients
District/Off: 0207−1                      User: admin                         Date Created: 4/3/2024
Case: 1−20−44192−nhl                      Form ID: pdf000                     Total: 5


Recipients of Notice of Electronic Filing:
ust         Office of the United States Trustee       USTPRegion02.BR.ECF@usdoj.gov
tr          Lori Lapin Jones         ljones@jonespllc.com
aty         Howard M File           hfile@hmfesq.com
                                                                                                       TOTAL: 3

Recipients submitted to the BNC (Bankruptcy Noticing Center):
            Rosenberg, Musso & Weiner, LLP         26 Court Street      Brooklyn, New York 11242
            Barry Crupi       298 Arthur Kill Road      Staten Island, New York 10308
                                                                                                       TOTAL: 2




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                  Case 1-20-44192-nhl Doc 94
                                          93 Filed 04/03/24 Entered 04/03/24 09:59:39
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              Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 30 of 33 PageID #: 40

     Information to identify the case:

     Debtor 1:
                           Syed Rashid                                     Social Security number or ITIN:   xxx−xx−0986
                                                                           EIN: _ _−_ _ _ _ _ _ _
                           First Name   Middle Name   Last Name

     Debtor 2:             Zareena Rashid                                  Social Security number or ITIN:   xxx−xx−2311
     (Spouse, if filing)                                                   EIN: _ _−_ _ _ _ _ _ _
                           First Name   Middle Name   Last Name

     United States Bankruptcy Court:        Eastern District of New York   Date case filed for chapter:        7    12/7/20

     Case number:           1−20−44192−nhl


                               NOTICE TO PARTIES CONCERNING APPEAL (ECF CASE)

A Notice of Appeal was filed on April 2, 2024, in the above case by Howard M File, regarding Order Granting Balance of
Debtor's Motion Seeking Sanctions against Howard File, Esq. and Barry Crupi for Violations of the Discharge Injunction
dated March 28, 2024, document number 90.

Effective December 1, 2014, Part VIII of the Federal Rules of Bankruptcy Procedure governing bankruptcy appeals was
substantially revised in order to align those rules with the Federal Rules of Appellate Procedure and updated to include
electronic transmission, filing, and service.

This notice must be read together with the Federal Rules of Civil Procedure (FRCP), the Federal Rules of Bankruptcy
Procedure (FRBP), the Local Rules of the Eastern District of New York, and this Court's Local Rules and Procedures.

1.         Service of Notice: The appellant must provide the Clerk with the email address of each party to be served; to the
           extent that there are parties to the appeal who are not equipped to receive email noticification, the appellant must
           provide the Clerk with the address for all parties to be served.
2.         Appellant's Designation: Appellant's designation of record on appeal and statement of issues to be presented on
           appeal are due within fourteen (14) days from the date of the filing of the Notice of Appeal. The designation must
           include a list of items to be included in the record on appeal. A copy of the designation and statement shall be
           served by the appellant on the appellee. A certificate of service must be filed with the bankruptcy court as proof that
           proper service was made.
3.         Appellee's Designation: Within fourteen (14) days after service of the appellant's designation and statement, the
           appellee may file with the bankruptcy court and serve on the appellant a designation of additional items to be
           included in the record on appeal.
4.         Transcripts: If the record designated by any party includes a transcript of any proceeding or a part thereof, the
           party shall, immediately after filing the designation, call one of the court approved transcription service agencies to
           request a copy of a transcript. The written request for the transcript shall be filed with the bankruptcy court. The
           party requesting the transcript is responsible for the cost of transcription. Designated transcripts must be provided to
           this office in PDF format.
5.         ECF Registration (Attorneys Only): Documents must be filed electronically relative to this matter, both in the
           Bankruptcy Court and, once the record has been transmitted, in the District Court. For information on ECF
           registration in the Bankruptcy Court, please visit: www.nyeb.uscourts.gov/electronic−filing−procedures; in the
           District Court, visit: https://www.nyed.uscourts.gov/cmecf.
6.         Transmittal of Record on Appeal: Generally the record on appeal will be transmitted thirty (30) days from the
           date of the filing with the Court of the Notice of Appeal.


Dated: April 3, 2024                                                                                      FOR THE COURT


                                                                                                          By: /s/ Jasmin Gomez
                                                                                                          ________________
                                                                                                          Deputy Clerk
BLntcparties.jsp [Notice to Parties 04/17/17]




                                                                                                                                 30
          Case
           Case1-20-44192-nhl
                 1-20-44192-nhl Doc
                                 Doc93-1
                                     94 Filed
                                         Filed04/03/24
                                               04/03/24 Entered
                                                         Entered04/03/24
                                                                 04/03/2409:59:39
                                                                          09:49:22
       Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 31 of 33 PageID #: 41

                                                    Notice Recipients
District/Off: 0207−1                         User: admin                         Date Created: 4/3/2024
Case: 1−20−44192−nhl                         Form ID: 772                        Total: 6


Recipients of Notice of Electronic Filing:
tr          Lori Lapin Jones         ljones@jonespllc.com
aty         Bruce Weiner          courts@nybankruptcy.net
aty         Robert J Musso          Rmusso@nybankruptcy.net
                                                                                                                   TOTAL: 3

Recipients submitted to the BNC (Bankruptcy Noticing Center):
cr          Barry Crupi      26 Court Street       Suite 1601        26 Court Street, Suite 1601       Brooklyn      NY,
            11242 UNITED STATES
            Syed Rasid & Zareena Rashid        Rosenberg, Musso & Weiner LLP              26 Court Street     Brooklyn, New
            York 11242
            Barry Crupi       298 Arthur Kill Road        Staten Island, New York 10308
                                                                                                                   TOTAL: 3




                                                                                                                              31
               Case 1-20-44192-nhl Doc 94-1 Filed 04/03/24 Entered 04/03/24 09:59:39
            Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 32 of 33 PageID #: 42

   Information to identify the case:
   Debtor
                   Syed Rashid                                         EIN: _ _−_ _ _ _ _ _ _

                   Name

   United States Bankruptcy Court       Eastern District of New York   Date case filed for chapter:   7   12/7/20

   Case number:         1−20−44192−nhl


                                            TRANSMITTAL OF NOTICE OF APPEAL

TO THE CLERK, U.S. DISTRICT COURT, EASTERN DISTRICT OF NEW YORK:

A Notice of Appeal was filed on April 2, 2024 by Howard M File, appealing Order Granting Balance of Debtor's Motion
Seeking Sanctions against Howard File, Esq. and Barry Crupi for Violations of the Discharge Injunction, document
number 90.

Pursuant to Bankruptcy Rule 8003(d)(1), the following documents are being transmitted:
ECF Doc. #90 − Order Granting Balance of Debtor's Motion Seeking Sanctions against Howard File, Esq. and Barry
Crupi for Violations of the Discharge Injunction
ECF Doc. #91 − Civil Cover Sheet
ECF Doc. #92 − Notice of Appeal to District Court.
ECF Doc. #93 − Notice to Parties of Requirements, Deadlines.




Dated: April 3, 2024                                                               Robert A. Gavin, Jr., Clerk of Court


                                                                                   By: /s/ Jasmin Gomez
                                                                                   ________________
                                                                                   Deputy Clerk
BLtroap.jsp [Transmittal of Notice of Appeal 04/17/17]
          Case 1-20-44192-nhl Doc 94-2 Filed 04/03/24 Entered 04/03/24 09:59:39
       Case 1:24-cv-02481-RPK Document 1-1 Filed 04/03/24 Page 33 of 33 PageID #: 43

                                                      Notice Recipients
District/Off: 0207−1                          User: admin                          Date Created: 4/3/2024
Case: 1−20−44192−nhl                          Form ID: 771                         Total: 12


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
intp        Howard File, Esq
                                                                                                                   TOTAL: 1

Recipients of Notice of Electronic Filing:
ust         Office of the United States Trustee       USTPRegion02.BR.ECF@usdoj.gov
tr          Lori Lapin Jones         ljones@jonespllc.com
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aty         Bruce Weiner          courts@nybankruptcy.net
aty         Holly R. Holecek          hrh@lhmlawfirm.com
aty         Howard M File           hfile@hmfesq.com
aty         Robert J Musso          Rmusso@nybankruptcy.net
                                                                                                                   TOTAL: 7

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Syed Rashid       247 Koch Blvd        Staten Island, NY 10312−5416
jdb         Zareena Rashid       247 Koch Blvd        Staten Island, NY 10312−5416
cr          Barry Crupi      26 Court Street      Suite 1601         26 Court Street, Suite 1601      Brooklyn     NY,
            11242 UNITED STATES
cr          M&T Bank         c/o Woods Oviatt, Gilman, LLP         500 Bausch & Lomb Place          Rochester, NY 14607
                                                                                                                   TOTAL: 4
